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                                UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF PENNSYLVANIA

EARLANDO SAMUEL,                                            :
                                                            :
                                     Plaintiff,             :      No.: 2:22-cv-02451-WB
                                                            :
                            v.                              :
                                                            :
THE DELAWARE COUNTY                                         :
HOUSING AUTHORITY, et al.,                                  :      CIVIL ACTION - LAW
                                                            :
                                     Defendants.            :
                                                            :

     JOINT REPORT OF RULE 26(F) MEETING AND PROPOSED DISCOVERY PLAN

       In accordance with Federal Rule of Civil Procedure 26 (f), counsel for the defendants conferred

on January 23, 2023 and submit to Chambers the following report of their meeting for the Court’s

consideration. Pro Se Plaintiff, Earlando Samuel, did not respond to a request to contact counsel

to schedule a meeting. (See, Defendants’ Joint Motion to Continue Preliminary Pre-Trial

Conference ECF 43)1.

       1. Discussion of Claims, Defenses and Relevant Issues

           For Plaintiff: Plaintiff did not respond to a request to contact the undersigned counsel to

       confer.

           For Defendants:

           A. Delaware County Housing Authority (“DCHA”) Defendants: The claims asserted

                 by Plaintiff lack both a factual and legal basis and are not timely pursued. Plaintiff was

                 provided an HCV voucher for a one-bedroom apartment in 2019, where he has

                 continued to reside. He was provided instructions if he wished to update the HCV to a

                 two-bedroom apartment to accommodate for a live-in aid in August, 2021; but to date,



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    Denied after preparation of Report.
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             has taken no action in this regard. See, Amend. Cmplt. Ex. 8 (ECF 36, p. 41 of 103).

             Plaintiff brings claims in the nature of violation of federal statutes related to criminal

             proceedings, the Federal Trade Commission or others; which have no legal merit.

          B. Ingerman Defendants: The Ingerman Defendants deny Plaintiff’s claims, which lack

             factual and legal merit. Plaintiff lacks standing to pursue causes of action under federal

             criminal statutes. His claims under the Fair Housing Act and Americans with

             Disabilities Act are largely time barred. Any timely allegations are legally insufficient

             to state a cause of action. Plaintiff fails to set forth sufficient facts to maintain his state

             law claims for intentional infliction of emotional distress and unfair trade practices

             under the Pennsylvania Unfair Trade Practices and Consumer Protection law.

          The Primary issues to address by Defendants include Plaintiff’s history in porting from the

New Castle County Housing Authority (and claims pending in Delaware relating to his housing);

interaction with the DCHA and Ingerman Properties regarding his housing; Plaintiff’s actions in

obtaining housing and signing a lease for a one bedroom apartment; Plaintiff’s lack of conduct

after signing the one-bedroom lease; and facts surrounding Plaintiff’s claims for a violation of

federal law or statutes; and how those claims have merit or relate to this civil action and the timing

of such conduct as being time barred.

          The DCHA Defendants filed a Motion to Dismiss on January 17, 2023 (ECF 40); and the

Ingerman Defendants intend to file a Motion to Dismiss Plaintiff’s Amend. Cmplt. pursuant to this

Court’s Order providing an extension of time until January 30, 2023. (ECF 37).

   2. Initial and Informal Disclosures:

   For Plaintiff:        Plaintiff did not respond to a request to contact the undersigned counsel to

confer.



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   For Defendants: Rule 26 disclosures will be provided in accordance with the Federal Rules

of Civil Procedure. Defendants will agree to discuss with Plaintiff providing any informal

discovery; should Plaintiff provide specific requests of information requested – not already

contained in his Amended Complaint.

   3. Formal Discovery

   For Plaintiff:       Plaintiff did not respond to a request to contact the undersigned counsel to

confer.

   For Defendants: Each set of defendants (DCHA Defendants and Ingerman Defendants) intend

to serve Interrogatories and Requests for Production of Documents for the standard number in

accordance with the Federal Rules of Civil Procedure.

          Fact Discovery: To be completed 90 days following the adjudication of the pending

Motions to Dismiss.

          Expert Reports: Thirty (30) days following the end of Fact Discovery. At present, neither

the DCHA defendants nor the Ingerman Defendants anticipate retaining an expert.

          Opinion Testimony: Thirty (30) days following the end of Fact Discovery.

          Expert Witness Discovery: 30 days following the deadline for Expert Reports.

   4. Electronic Discovery

   Should electronic discovery be at issue, the parties will confer and reach an agreement as to

how to proceed.

   5. Expert Discovery:

   See, proposed deadlines above.

   6. Early Settlement or Resolution




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       The Defendants will discuss with Plaintiff the possibility of resolving these claims, should

Plaintiff wish to do so and understand the necessity of providing the necessary documentation

which would otherwise be required for an HCV or housing.

       7. Trial Date:

       Sixty (60) days following the end of expert discovery; or the adjudication of anticipated

Summary Judgment Motions.

       8. Other

       Plaintiff filed a Motion for Appointment of Counsel on January 19, 2023 (ECF 42) which has

yet to be decided2.




    SIANA LAW                                         BALLARD SPAHR

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    Denied after preparation of report.
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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

EARLANDO SAMUEL,                                     :
                                                     :
                             Plaintiff,              :      No.: 2:22-cv-02451-WB
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                     v.                              :
                                                     :
THE DELAWARE COUNTY                                  :
HOUSING AUTHORITY, et al.,                           :      CIVIL ACTION - LAW
                                                     :
                             Defendants.             :
                                                     :

                                CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that on this day a true and correct copy of the

Defendants’ Joint Rule 26(f) Report was served upon the following via ECF and/or U.S. Mail:

                                                                   (ECF)


           Earlando Samuel                                Martin C. Bryce, Esquire
           207 Parker Place                             Catharine E. Lubin, Esquire
         Glen Mills, PA 19342                                Ballard Spahr LLP
         (via email and mail)                          1735 Market Street, 51st Floor
                                                          Philadelphia, PA 19103
                                                   Attorneys for the Ingerman Defendants


                                           SIANA LAW

Date: January 23, 2023               By:   /s/ Sheryl L. Brown
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